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3
4                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
5                                       AT SEATTLE
6
7      PREMIER TENTS INC,
                                                        CASE NO.
8                                                       2:22−cv−00541−RSM
                                      Plaintiff(s),
9                            v.                         ORDER REGARDING
                                                        FRCP 26(f) CONFERENCE,
10                                                      INITIAL DISCLOSURES,
       AKSIMO DISTRIBUTION INC,                         AND JOINT STATUS REPORT
11
12                                  Defendant(s).

13                                I. INITIAL SCHEDULING DATES
14         The Court sets the following dates for initial disclosure and submission of the

15   Joint Status Report and Discovery Plan:

16
                Deadline for FRCP 26(f) Conference:                         5/20/2022
17
                Deadline to Exchange Initial Disclosures                    5/27/2022
18              Pursuant to FRCP 26(a)(1):
19              Combined Joint Status Report and Discovery
                Plan as Required by FRCP 26(f)
20              and Local Civil Rule 26(f):                                 6/3/2022
21
           The deadlines above may be extended only by the Court. Any request for an
22
     extension of these deadlines should be made by email to Laurie Cuaresma, Courtroom
23
     Deputy, at laurie_cuaresma@wawd.uscourts.gov. The parties who have already
24
     appeared in this matter are required to meet and confer before contacting the court to
25
     request an extension.
26

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1                              II. PROCEDURAL INFORMATION
2          Counsel are expected to abide by the requirements set forth in the local rules.

3    Failure to do so may result in the imposition of sanctions. Links to Local Rules,

4    Electronic Filing Procedures for Civil and Criminal Cases, court forms, instruction

5    sheets, and General Orders, can be found on the Court's website at

6    www.wawd.uscourts.gov.

7                    III. JOINT STATUS REPORT & DISCOVERY PLAN

8          All counsel and any pro se parties are directed to confer and provide the Court

9    with a combined Joint Status Report and Discovery Plan (the "Report") by

10   June 3, 2022. This conference shall be by direct and personal

11   communication, whether that be a face−to−face meeting or a telephonic conference. The

12   Report will be used in setting a schedule for the prompt completion of the case. It must

13   contain the following information by corresponding paragraph numbers:

14         1. A proposed deadline for joining additional parties.

15         2. The parties have the right to consent to assignment of this case to a full

16   time United States Magistrate Judge, pursuant to 28 U.S.C. §636(c) and Local Rule MJR

17   13, to conduct all proceedings. The Western District of Washington assigns a wide range

18   of cases to Magistrate Judges. The Magistrate Judges of this district thus have significant

19   experience in all types of civil matters filed in our court. The parties should indicate

20   whether they agree that the Honorable Michelle L. Peterson may conduct all proceedings

21   including trial and the entry of judgment. When responding to this question, the parties

22   should only respond "yes" or "no." Individual party responses should not be provided. A

23   "yes" response should be indicated only if all parties consent. Otherwise, a "no" response

24   should be provided.

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1          3. A discovery plan that states, by corresponding paragraph letters (A, B, etc.),
2    the parties' views and proposals on all items set forth in Fed. R. Civ. P. 26(f)(3), which
3    includes the following topics:
4                (A) the exchange of initial disclosures;
5                (B) subjects, timing, and potential phasing of discovery;
6                (C) electronically stored information;
7                (D) privilege issues;
8                (E) proposed limitations on discovery;
9                (F) the need for any discovery related orders;
10               (G) the need for and any specific limits on discovery relating to claim
11   construction, including depositions of witnesses, including expert witnesses; and
12               (H) whether discovery should be allowed before the disclosures required
13   by Patent Rule 120.
14         4. The parties' views, proposals, and agreements, by corresponding paragraph
15   letters (A, B, etc.) on all items set forth in Local Civil Rule 26(f)(1), which includes the
16   following topics:
17               (A) prompt case resolution;
18               (B) alternative dispute resolution;
19               (C) related cases;
20               (D) discovery management;
21               (E) anticipated discovery sought;
22               (F) phasing motions;
23               (G) preservation of discoverable information;
24               (H) privilege issues;
25               (I) Model Protocol for Discovery of ESI; and
26               (J) alternatives to Model Protocol.

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1          5. Whether the case should be bifurcated by trying the liability issues before
2    the damages issues, or bifurcated in any other way.
3          6. Any proposed modifications of the deadlines provided for in the Local
4    Patent Rules, and the effect of any such modification on the proposed date and time of
5    the claim construction hearing, if any.
6          7. Whether confidentiality concerns affect the disclosures contemplated in
7    these rules and, if so, the parties' positions on how they should be addressed.
8          8. Whether and/or when a tutorial might be scheduled to assist the Court to
9    understand the underlying technology.
10         9. Whether the Court should appoint an expert to hear and make
11   recommendations on claim construction issues.
12         10. Whether any party plans to bring a motion for preliminary injunction or a
13   dispositive motion before the claim construction hearing and, if so, the nature of such
14   motion. (PLEASE NOTE: The Court will not rule on dispositive motions that raise
15   issues of claim construction prior to the claim construction hearing unless special
16   circumstances warrant and the party obtains leave of court in advance of filing.)
17         11. The nature of the claim construction hearing (e.g., an evidentiary hearing
18   with testimony, oral argument only).
19         12. Any other suggestions for shortening or simplifying the case.
20         13. Whether the trial will be jury or non−jury.
21         14. The number of trial days required.
22         15. The names, addresses, and telephone numbers of all trial counsel.
23         16. If, on the due date of the Report, all defendant(s) or respondent(s) have not
24   been served, counsel for the plaintiff shall advise the Court when service will be effected,
25   why it was not made earlier, and shall provide a proposed schedule for the required
26   FRCP 26(f) conference and FRCP 26(a) initial disclosures.

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1          17. Whether any party wishes a scheduling conference before the Court enters a
2    scheduling order in the case.
3          18. The date(s) that each and every nongovernmental corporate party filed its
4    disclosure statement pursuant to Fed. R. Civ. P. 7.1 and Local Civil Rule 7.1.
5          19. A proposed case schedule in the same or similar format as follows:
6    EVENT                                                      DEADLINE
7                                                               30 days after entry of
     Deadline to Join Additional Parties
                                                                Scheduling Order
8
     Plaintiff to serve Preliminary Infringement
     Contentions and Disclosure of Asserted Claims              15 days after entry of
9                                                               Scheduling Order
     (LPR 120)
10   Defendant to serve Preliminary Non−Infringement and        45 days after entry of
     Invalidity Contentions (LPR 121) and accompanying          Scheduling Order
11   Document Production (LPR 122)
12   Parties to exchange Proposed Terms and Claim               65 days after entry of
     Elements for Construction (LPR 130)                        Scheduling Order
13
     Parties to exchange Preliminary Claim Constructions        95 days after entry of
14   and Extrinsic Evidence (LPR 131)                           Scheduling Order
     Parties to file Joint Claim Chart and Prehearing           140 days after entry of
15   Statement                                                  Scheduling Order
16                                                              190 days after entry of
     Completion of Claim Construction Discovery                 Scheduling Order
17                                                              195 days after entry of
     Parties to file Opening Claim Construction Briefs          Scheduling Order
18
                                                                210 days after entry of
19   Parties to file Responsive Claim Construction Briefs
                                                                Scheduling Order
20   Tutorial (if necessary)                                    To be set by the Court
     Claim Construction Hearing                                 To be set by the Court
21
                                                                60 Days After Claim
22   Close of Fact Discovery
                                                                Construction Order
23   Parties to Exchange Initial Expert Reports                 90 Days After Claim
                                                                Construction Order
24

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1    EVENT                                                        DEADLINE
2                                                                 120 Days After Claim
     Parties to Exchange Supplemental Expert Reports
                                                                  Construction Order
3
                                                                  150 Days After Claim
     Close of Expert Discovery
4                                                                 Construction Order
     Parties to file case dispositive and/or Daubert              180 Days After Claim
5    motions                                                      Construction Order
6    Trial                                                        To be set by the Court

7
             If the parties are unable to agree on any part of the Report, they may answer in
8
     separate paragraphs. No separate reports are to be filed. If the parties wish to have a
9
     status conference with the Court at any time during the pendency of this action, they
10
     should notify Laurie Cuaresma, Courtroom Deputy, at
11
     laurie_cuaresma@wawd.uscourts.gov.
12
                               IV. PLAINTIFF'S RESPONSIBILITY
13           Plaintiff's counsel will be responsible for starting the communications needed to
14   comply with this Order.
15           V. EARLY SETTLEMENT CONSIDERATION AND NOTIFICATION
16           If settlement is achieved, counsel shall immediately notify Laurie Cuaresma,
17   Courtroom Deputy, at laurie_cuaresma@wawd.uscourts.gov.
18           The parties are responsible for complying with the terms of this Order. The Court
19   may impose sanctions on any party who fails to comply fully with this Order.
20           DATED: the 6th of May 2022
21
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23
                                               Honorable Ricardo S. Martinez
24                                             United States District Judge
25
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